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            In the United States Court of Federal Claims
                                  No. 11-682 C

                            (Filed November 8, 2013)

*********************
ENSLEY, INC.,            *
                         *
              Plaintiff, *
                         *
          v.             *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                    ORDER

       On November 7, 2013, defendant filed an Unopposed Motion for
Enlargement of Time to File Reply in Support of Defendant’s Motion for Summary
Judgment in this matter. Therein, defendant requests an enlargement of time of
eleven days, to and including November 26, 2013, within which to file defendant’s
reply in support of the government’s motion for summary judgment. Accordingly,
defendant’s motion is GRANTED.

                                           /s/Lynn J. Bush
                                           LYNN J. BUSH
                                           Judge
